Case 15-24733-JNP         Doc 86    Filed 06/24/19 Entered 06/24/19 16:56:22 Desc Main
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                                    Document     Page 1 of 1               Linwood, NJ 08221, Ste. 103
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                                                        PLEASE RESPOND TO LINWOOD OFFICE

                                           June 24, 2019

Honorable Jerrold N. Poslusny, Jr. U.S.B.J.
United States Bankruptcy Court
400 Cooper Street
Camden, NJ 08101

Re:     Daniel Rallo and Carmen Rallo
        Case No. 15-24733
        Status Hearing: June 25, 2019 at 11:00 a.m.

Dear Judge Poslusny:

        Please accept this letter as a response to the above-referenced status hearing. The asset in
this case was an investment property owned with a partner of the debtor, which was being
managed per Court Order.

         As previously referenced, the property is now sold. We have taken care of filing tax
returns and are just waiting a refund on insurance that was cancelled, whereupon we will be able
to file our final report.

      It is respectfully requested that the next status conference be in approximately two
months.

         Thank you for your attention to this matter.

                                               Respectfully Submitted,
                                               FLASTER/GREENBERG P.C.




                                               Douglas S. Stanger
DSS/dj


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